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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                             CASE NO. 3:08cr136 LAC

DAVID W. WEBB

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on September 1, 2009
Motion/Pleadings: DEFENDANT’S MOTION TO EXCLUDE GOVERNMENT’S EXPERT
WITNESS
Filed by DEFENDANT                     on 9/1/09     Doc.# 97

RESPONSES:
IN OPPOSITION BY GOVERNMENT                    on 9/8/09              Doc.# 110
                                               on                     Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration     of   the    foregoing,      it    is   ORDERED   this    28 th   day   of
September, 2009, that:
(a) The relief requested is DENIED.
(b) See record of proceedings.




                                                                s /L.A. Collier
                                                             LACEY A. COLLIER
                                                   Senior United States District Judge

Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
